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  12
                          UNITED STATES DISTRICT COURT
  13
           CENTRAL DISTRICT OF CALIFORNIA, EASTERN DIVISION
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  15
     SHAWN CARTER, also known as              Case No. 2:21-cv-04848-SSS-KS
  16 JAY-Z, an individual,
                                              PLAINTIFF’S NOTICE
  17             Plaintiff,                   REGARDING TRIAL DATE
  18        v.                                The Honorable Sunshine Suzanne Sykes
  19 JONATHAN MANNION, an                     Trial Date: January 23, 2023
     individual, and JONATHAN
  20 MANNION PHOTOGRAPHY LLC, a
     New York limited liability company,
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                  Defendants.
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   1        TO THE COURT AND ALL COUNSEL OF RECORD:
   2        Counsel for Plaintiff Shawn Carter provides notice that Plaintiff’s lead trial
   3 counsel and other members of Plaintiff’s trial team have a trial scheduled in In re
   4 Tesla Inc. Securities Litigation, 3:18-cv-04865-EMC (N.D. Cal. filed Aug. 10,
   5 2018), for January 17, 2023 to February 3, 2023, which conflicts with the January
   6 23, 2023 trial date set by the Court for this case. Plaintiff’s counsel is in the process
   7 of conferring with defense counsel to determine whether Defendants will stipulate to
   8 continue the trial date to March 13, 2023, the date Defendants proposed in the
   9 parties’ Joint Statement, ECF No. 192 at 10, or another date on which the parties are
  10 available, and will notify the Court as soon as Defendants have responded.
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  12 DATED: August 5, 2022                  QUINN EMANUEL URQUHART
                                                & SULLIVAN, LLP
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                                            By /s/ Robert M. Schwartz
  15
                                               Alex Spiro (pro hac vice)
  16                                           Robert M. Schwartz
  17                                           Cory D. Struble (pro hac vice)
                                               Dylan C. Bonfigli
  18                                           Attorneys for Plaintiff
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                                                         PLAINTIFF’S NOTICE REGARDING TRIAL DATE
